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IN THE UNITED STATES DISTRICT COURT Pie
FOR THE NORTHERN DISTRICT OF TEXAS 102) HAR 25

DALLAS DIVISION
UNITED STATES OF AMERICA SEPUTY CLERK
V. Criminal No.
DARRIN RUBEN LOPEZ 3-21CR0122-Mm
INDICTMENT
The Grand Jury Charges:
Count One

Transportation of a Firearm in Interstate or Foreign
Commerce with Intent to Commit a Felony Offense
(Violation of 18 U.S.C. § 924(b))
On or about October 8, 2020, in the Dallas Division of the Northern District of

Texas and elsewhere, Darrin Ruben Lopez, the defendant herein, did knowingly and
intentionally transport a firearm; to-wit: a Smith and Wesson Model 4506 .45 caliber
handgun bearing serial number VAS0598 in interstate or foreign commerce with the
intent to commit murder which is a felony offense punishable by imprisonment for a term

exceeding one year.

In violation of 18 U.S.C. § 924(b).

Indictment - Page 1

 
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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of any of the offenses alleged in this indictment, and under 18
U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), defendant, Darrin Ruben Lopez, shall
forfeit to the United States of America the firearm and ammunition involved in or used in
the knowing commission of the offense:

a Smith and Wesson Model 4506 .45 caliber handgun bearing serial number

VAS0598 and all ammunition.

 

A TRUE BILL:
FOREPERSO
PRERAK SHAH
ACTING UNITED ATTORNEY

   

 

Rick Calvert

Assistant United States Attorney
Texas State Bar No. 03669700
1100 Commerce Street, Third Floor
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

DARRIN RUBEN LOPEZ

 

INDICTMENT

18 U.S.C. § 924(b)
Transportation of a Firearm in Interstate or Foreign Commerce
with Intent to Commit a Felony Offense
(Count 1)

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

 

A true bill rendered

 

A
DALLAS =i FOREPERSON

Filed in open court this 25 day of March, 2021.

 

 

UNITED STATES MAGISPRA¥E JUDGE
Magistrate Court Number MJ-00059-BT

 
